IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS }
PLAINTIFF, \
}

Vv. } Exhibit A
}
ASHEVILLE DETOX LLC et al. }
DEFENDENTS }

Plaintiff's signature version without Defendants signature (originally filed as document 13-
8)

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 1 of 50

EXHIBIT A

12. Partial Invalidity

The parties agree that the provisions of thls Agreement shall be deemed severable and that
the {nvalldity or unenforceabillty of any portlon or any provision shall not affect the validity or
enforceability of the other partions or provisions. Such provisions shall be appropriately limited and
given effect to the extent that they may be enforceable.

13, Acknowledgement

BY SIGNING BELOW AND RETURNING THIS AGREEMENT, YOU AFEIRM THAT YOU HAVE
BEEN GIVEN A REASONABLE PERIOD OF TIME TO CONSIDER THIS AGREEMENT: THAT YOU HAVE
CAREFULLY READ AND UNDERSTAND EACH OF THE TERMS OF THIS AGREEMENT: THAT THE
CONSIDERATION YOU WILL RECEIVE IN EXCHANGE FOR EXECUTING THIS AGREEMENT 1S

GREATER THAN THAT TO WHICH YOU WOULD BE ENTITLED IN THE ABSENCE OF THIS
AGREEMENT: AND THAT YOU ACCEPT IT KNOWINGLY AS YOUR OWN FREE AND VOLUNTARY
ACT WITHOUT ANY COERCION OR INTIMIDATION; AND THAT YOU HAVE THE RIGHT TO
CONSULT WITH AN ATTORNEY ABOUT THIS AGREEMENT AND CERTIFIES THAT THE

COMPANY HAS URGED AND DOES URGE HIM TO DO $0.

As to Employee: OF ba

Christopher Janas brooks (Nov 25, 2024 14:40 EST}

Date Christopher Brooks
For the Company:
Dale Asheville Detox LLC

-6-

Case 1:25-vv-00058-MOC-WCM — Document 13-6 _Fi : 7
Case 1:25-cv-00058-MOC-WCM Document 28-2 Fes eaeeee paaeen? Pleb

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

}
}
}
v. } Exhibit B
!
DEFENDENTS }

Altered signature version from defendants (sent to plaintiff via UPS with cash and check)

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 3 of 50

ge kele

EXHIBIT B

12, ParllaLinvalldlty

The parties agree that the provisions of this Agreement shall be deemed severable and { a
the tnvalidity ar UNenforceablilty of any portion OF any provision shalt not affect the vatign

enforceabllity of the other portlons or provisions. Such Provistons shall be appropriately lied ana
given effect to the extent that they may be enforceable.

43: acknowledgement

HIS GREE ou

een

BEEN GIVENA A REASONABLE PERIOD Gry Ine TG CONSIDEN THI Aches MENT THAT YOU NAVE
CAREFULLY READ AND UNDERSTAND EACH OF THE TERMS OF THIS AGREEMENT: THAT THE
CONSIDERATION YOU WILL. RECEIVE IN_E EXCHANGE FOR EXECUTING THIS A GREEMENT 18.
GREEME OU ARE FULLY COMPETENT TO UNDERSTAND c is
EEMENT: AND ou PT INGLY AS YOUR OWN FREE AND VO ARY =

ACT W UT_ANY COERCION OR INTIMIDATION; AND THAT YOU HAVE THE RIGHT TO -
CONSULT WITH AN ATTORNEY ABOUT THIS AGREEMENT AND CERTIFIES THAT THE
COMPANY HAS URGED AND DOES U GE TODO SO,

. As to Employee: OF Be

’ Ghilstopher Jonas brooks (Nov 25, 2024 11:40 EST)

a Date - Christopher Brooks
“For the Company(
po) &, op fe
Date ‘showy F Detox LLC

Case 1:25-cv-00058 MOC-WCM Document 13-6 ° Filed 05/12/25 - Page 7 of 7

“Case 1:25-cv-00058-MOC-WCM - | Dacuiment'28-2:. Filed 06/25/25.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

}
}
}
v. } Exhibit C
DEFENDENTS }

Document with impossible future date

Case 1:25-cv-00058-MOC-WCM _ Docufnent 28-2 Filed 06/25/25 Page 5 of 50

EXHIBIT C

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS,

Plaintiff,

Vv.

ASHEVILLE DETOX LLC and

HEALTHCARE ALLIANCE NORTH

AMERICA,
Defendants.

DEFENDANTS'
MOTION TO ENFORCE
SETTLEMENT AGREEMENT

er meee ee eee ee tae!

NOW COMES Defendants Asheville Detox, LLC and Health Care Alliance

North America ("Defendants"), by and through the undersigned counsel, and hereby

file this motion to enforce the settlement agreement by Plaintiff onzWevé

‘@G@5, or, in the alternative, the settlement agreement reflected in emails with

Plaintiffs attorney and Plaintiff on February 5, 2025, and February 24, 2025.

Defendants do so for the reasons contained in the brief filed contemporaneously with

this Motion.

Respectfully submitted, this the 12 day of June, 2025,

Case 1:25-cv-00058-MOC-WCM
Case 1:25-cv-00058-MOC-WCM

isl Robert C. Carpenter

Robert C. Carpenter

N.C. State Bar No, 36672

Alicia E. Hull

N.C. State Bar No. 58372

Allen Stahl & Kilbourne, PLLC

20 Town Mountain Road, Suite 100
Asheville, NC 28801

Filed 06/12/25
Filed 06/25/25

Page 1 of 3
Page 6 of 50

Document 21

Document 28-2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS }
PLAINTIFF, }
}

v. } Exhibit D
}
ASHEVILLE DETOX LLC et al. }
DEFENDENTS }

Email from defense counsel acknowledging rule 11 Safe Harbor and settlement threat

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 7 of 50

RE: Confidential Settlement Proposal — Expires June 10, 2025 - Christopher brooks - Outlook

EXHIBIT D

6/23/25, 2:15 PM

fala Outlook

RE: Confidential Settlement Proposal — Expires June 10, 2025

From Bo Carpenter <bcarpenter@asklawnc.com>

Date Tue 5/27/2025 3:37 PM
To = Christopher brooks <Chris.Brooks111@outlook.cam>

Mr. Brooks,

| am in receipt of this settlement offer. My client respectfully declines.

As noted in the response just filed, you have settled the underlying claims on three different
occasions. We intend to file a motion to enforce the various settlement agreements and seek
the recovery of attorneys’ fees in filing such a motion. Moreover, with these settlement
agreements, your complaint is not based on existing law and there are no evidentiary facts to
support it. Consequently, you are subject to sanctions under Rule 17. Consider this email your
21-day notice under Rule 11 to dismiss your complaint or face sanctions. Furthermore, you are
violating the settiement agreement you signed to settle your Worker's Compensation claim,
thereby providing grounds for the return of those funds for breach of contract.

That all said, my client is willing to settle your matter in the amount of $5,000 to prevent it from
incurring additional attorneys’ fees. This offer will remain open until the end of the week, May
30, 2025. Failure to accept it by then will result in us filing a motion to enforce the settlement

agreement and/or Rule 11 sanctions.

Bo

Robert C. “Bo” Carpenter
Partner

Allen Stahl + Kilbourne
20 Town Mountain Road
Suite 100

Asheville, NC 28801
828.318.7784 Mobile
828.412.4022 Direct
828.254.4778 Main
‘B28.254.6646 Fax

www. asklawnc.com
bcarpenter@asklawnc.com

This message and its attachments may contain confidential and/or legally-sensitive information that is
intended for the sole use of the addressee(s). Any unauthorized review, use, disclosure, or distribution of the

about:blank widower EYE EUS MOC-WCM Document 28-2 Filed 06/25/25 Page 8 of 50 “4

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS }
PLAINTIEF, }
}

v. \ Exhibit E-1
}
ASHEVILLE DETOX LLC et al. }
DEFENDENTS i

Email from defense counsel “ most of your changes included “; Warns filing voids offer

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 9 of 50

-

5/18/25, 3:15 AM Gmail - christopher brooks revised settlement offer EXHIBIT E- 1

iv; Gmail Christopher Brooks <brocks.cj1002@gmail.com>

christopher brooks revised settlement offer

2 messages

Christopher Brooks <brooks.cj1002@gmail.com> Mon, Feb 24, 2025 at 4:47 PM

To: bearpenter@asklawnc.com

2 Discrimination case settlement revised.pdf
155K

Bo Carpenter <bcarpenter@asklawnc.com> Wed, Feb 26, 2025 at 11:31 AM
To: Christopher Brooks <brooks.cj1002@gmail.com>

Christopher,

Here is the revised seitlement agreement as we discussed. The changes are in yellow highlighting. | think we can live
without the non-disparagement so | took that out. I'm not entirely comfortable fisting those dates you texted me because I've
never seen that before and don't get the point. | worry about unintended consequences. That safd, its not a dealbreaker.

| otherwise think your changes are all in here, Sil still need to get client approval on these changes, but | da not think that wall
he an issue. Again, if vou file. then all offers are off the iable ancl we'll proceadc with defending tha case

Bo

hitps://mail.googleaGr@rdallZ.A0/ DkF826L DB eleMetispid Carbl=allabsmahhdsinteddcA en 037 ees ueeb 14 foe Bdidipl=msdret DES ddDaab7eRdS... 1/3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

}
}
}
v. } Exhibit E-2
DEFENDENTS }

Defenses revised rash with unresolved release language

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 11 of 50

‘plbaoraiees EXHIBIT E-2

PARAGRAPH

- damages, o8ses,. COStS; ore enses‘related to Emplo ‘ene employment with. Coa “ *
that arose prior to the date of this Agreement] This release shall not serve, Le
“as a Felease of claims that arise after the date of this Agreement. vo:

“3. Additional Representations. “Employee veprosents and warrants
that he was permitted by Employer to take all leave to which he was entitled,

that he has been properly paid for all time worked while he was employed by
Employer, that he has received all benefits to which he was or is entitled. Employee
also represents and warrants that he knows of no facts and has no reason to believe
that his rights under either the Fair Labor Standards Act or the Family and
Medical Leave Act have been violated. Employee represents and warrants that
other than as previously alleged, he knows of no violations of law or policy by

Employer.

4, Taxes. Employee shall be responsible for reporting all payments
Employee receives from Employer to any taxing authorities as may be required by
applicable law or regulations, and Employee shall be responsible for payment of any
and all taxes or related obligations associated with such payments received by

Employee from Employer

5. No Admission of Liability. The terms and conditions outlined
herein are not to be construed as an admission of any liability or violation of any
federal, state or local statute or regulation or of any duty owed by and between the
Parties and the Parties expressly deny and continue to deny any and all liability.
This Agreement is entered into in order to avoid further dispute between the

Parties.

6. Confidentiality. The Parties agree that the terms and conditions of
this Agreement are and shall remain confidential and shall not be disclosed to any
person other than the entities identified herein, as required by law or to Employee's
immediate family, legal counsel, tax professionals, and financial advisors. The
Parties agree to require that anybody receiving this information from them shall
maintain its confidentiality. To the extent the Parties reveal any of the confidential
information to anybody, they agree to inform them simultaneously of the
confidentiality requirements contained in this paragraph.

7. Fees and Costs. Each party agrees to bear their own attorneys’ fees
and costs associated with this matter.

B. Execution by the Parties. This Agreement may be executed in
multiple counterparts, cither in original form or in the form of facsimile copies or
electronic (PDF), all of which taken together shall collectively constitute one
agreement binding on the Parties.

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 12 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

}
}
}
v. } Exhibit F-1
)
DEFENDENTS }

Email thread with former attorney

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 13 of 50

| _-SHBI25, 2:28 AM Gmalt - Clarification on Settlement Tax Treatment and Case Siatus  F/XY AT BIT F-]

ivi Gmail Christopher Brooks <brooks.cj1902@gmail.com>

Clarification on Settlement Tax Treatment and Case Status

Christopher Brooks <brooks.cj1002@gmail.com> Fri, Feb 14, 2025 at 12:54 PM
To: Gary Martoccio <gary@martocciofirm.com>

| Dear Mr. Martoccio

| truly appreciate all the work you've done on my case and the time you've taken to explain everything. Thank you for your
1
efforts.

| do want to make sure this matter moves forward in a timely manner. If you plan to proceed with fillng, please let me know:
the next steps. However, if you do not intend to move forward, please let me know before the 90-day deadline so | can make |
| other arrangements.

| appreciate your guidance and look forward io your response.

|

Best regards
Christopher brooks
|

|

|

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Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 14 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

V. Exhibit F-2

ASHEVILLE DETOX LLC et al.
DEFENDENTS

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Email where attorney says plaintiff refuses to sign and he withdraws

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 15 of 50

fa

5/18/25, 2:28 AM Gmail - Clarification on Settement Tax Treatment and Case Status EXHIBIT F-2

iv; Gmail Christopher Brooks <brooks.cj1002@gmall.com>

Clarification on Settlement Tax Treatment and Case Status

Gary Martocclo <gary@martocclofirm.com> Fri, Feb 14, 2025 at 12:55 PM
To: Christopher Brooks <brooks.c]1002@gmail.com>

Chris,

We reached a setilement on your behalf and do not intend to file sult. Are you refusing to sign the agreement?

Gary Martoccio
Attorney
Martocclo Law Group

- Licensed in: AZ, FL, GA, IL, MA, NC, PA, TN & TX
2101 W. Platt St., Suite 200, Tampa, FL. 33606
Phone: 813-725-3279

Email: gary@martocciofirm.com

[Quoted text hiddan]

hitos://mall.google.commallfu/O/7ik=526e11 23ef&vlew=pt&search=allapermmsgld=msg-4:1824056425055113065&simpemsg-f1824086425055113085 = 1/1

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 16 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS }
PLAINTIFF, }
}

v. } Exhibit F-3
}
ASHEVILLE DETOX LLC et al. }
DEFENDENTS }

General objections to the draft agreement

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page17 of 50

51 8(25, 2:36 AM Gmall - Clarification on Settlement Tax Treatment and Case Status EX) H/B/ T F-3
| Mi G mail Christopher Brooks <brooks.cj1002@gmait.com>

Clarification on Settlement Tax Treatment and Case Status

Christopher Brooks <breoks.cj1002@gmall.com> Fri, Feb 14, 2925 at 1:04 PM
To: Gary Martocclo <gary@martocciofirm.com>

No | will not sign that
[Quoted fext hidden]

https://mail.google.com/mailfu/o/?ik=526011 23efaview=pt&search=all&parmmsgki=msg-a:r-39934946852990004872simpl=msg-a-39934846852990... 1/4

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 18 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

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}
v. } Exhibit G-1
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DEFENDENTS }

Emails regarding REDA claim

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 19 of 50

—_— — -_—

“5/18/25, 4:03 AM Gmail - HCANA didn't show up! EXH IBIT G-1

ivi Gmail Christopher Brooks <brooks.cj1002@gmail.com>

HCANA didn’t show up!

Christopher Brooks <brooks.cj1002@gmail.com> Wed, Jan 15, 2025 at 9:53 AM
To: Gary Martoccio <gary@martocciofirm.com>

So no one from HCANA or Asheville Detox showed up to the unemployment hearing just thought you wanna know

Case 1:25-cv-00058-MOC- - j
atpsfimal nous camialiGiG/IC Sas 11 24sTavlowrptbscerchallaparnimsgh 228.2 rode ata eL ht bmaimpl=mneg G1 25s0 7030580213 4/1

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTGPHER JONAS BROOKS
PLAINTIFF,

Vv. Exhibit G-2

ASHEVILLE DETOX LLC et al.
DEFENDENTS

Follow up On REDA communication

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 21 of 50

| + off 8/25, 4:03 AM Gmail - HCANA didn't show “E XH I BIT G 2
=
| M4 Gmail . Christopher Brooks <brooks.cj1002@gmail.com>
HCANA didn’t show up!
| — = = > > = —T = = 7
Gary Martoceio <gary@martocciofirm.com> Wed, Jan 15, 2025 at 1:50 PM

To: Christopher Brooks <brooks.cj1002@gmail.com>

Noted. Thanks, Chris. Please provide us any documentation you receive from the NC DOL. Regarding your
case with our firm, we should have an update soon. | am waiting to hear back from the company’s counsel.

| Gary Martoccio

Attorney

Martoccio Law Group

Licensed in: AZ, FL, GA, IL, MA, NC, PA, TN & TX
2101 W. Plait St., Suite 200, Tampa, FL 33606
Phone: 813-725-3279

Email: gary@martocciofirm.com

{Quoted text hidden]

htipsil/mall. (asBe CochhRBA DONORS 82RD Gwe keehArch=aRperrmracitnRGtI62 SIR aRS IOS pzeSARIPI-MERS AZ IAS RBEREASE2EG 1/4

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

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}
Vv. } Exhibit G-3
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DEFENDENTS }

Email thread with former attorney

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 23 of 50

. Bf are, 4:03 AM Gmail - HCANA didn't show up! EXHIBIT G- 3

iv; Gmail Christopher Brooks <brooks.cj1002@gmail.com>
HCANA didn't show up!
Christopher Brooks <brooks.cj1002@gmail.com> , Wed, Jan 15, 2025 at 1:52 PM

To: Gary Martoccio <gary@martocciofirm.com>

Does that complaint look ok to you?
Most certainly will dude.
(Quoted text hidden]

hitps:/imall.goGitg gemini lds EROS 2S RRO WEE AYE —alRS CUTTS TSG | 85 GOR BAGSZS Des ABI=msopa ey (FESFEA BEAD ERZSO 1

1A

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS }
PLAINTIFF, }
}

v. } Exhibit G-4
}
ASHEVILLE DETOX LLC et al. }
DEFENDENTS }

Additional email thread with former attorney

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 25 of 50

EXHIBIT G-4

ho AM Gmail - HCANA didn't show up!
/
/™ Gmail Christopher Brooks <brooks.cj1002@gmail.com:
HCANA didn't show up!
eo Bactacct, Wed, Jan 15, 2025 at 6:14 PA

Gary Martoccio <gary@martocclofirm.com>
To: Christopher Brooks <brooks.cj1002@gmail.com>

REDA is a form of a wrongful termination claim (it stands for retaliatory discharge). \f you received a right fo
sue letter from the NC DOL fast enough, you would be able to include REDA claims in a lawsuit along with

your EEOC retated claims.

[Quoted text hidden]

bine Henailndera endo; 0058-MOC-WCM Document 28-2 Filed 06/25/25 Page 26 of 50
vinaitii e280 2deteutew-ptacoarch-alapomerccry ince go 958238224507607 2 atest... onc.

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

}
}
}
v. } Exhibit H-1
DEFENDENTS }

Page 10 of workers’ compensation agreement

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 27 of 50

EXHIBIT H-1

of Plaintiff becoming Medicare eligible in the next thirty months. Furthermore, pursuant to the
July 23, 2001 “Alt Associate Regional Adminisirators” memo by the Center for Medicare and
Medicaid Services (“CMS”) and CMS guidance memos subsequent thereto, this case does not
meet the threshold criteria for CMS review; and

Whereas, pursuant to 42 CFR § 411.46, the Medicare intermediary manual and the
Medicare carriers manual, the parties to this Agreement believe that any rights or intexests that
Medicare may have in the settlement of this matter have been adequately considered and that no
Medicare set-aside allocation is necessary by way of this claim or settlement; and

Whereas, Plaintiff certifies that, beyond the injuries and conditions referenced in this
Agreement or the attached medical and vocational records, Plaintiff neither has nor asserts any
other workers’ compensation claims against Employer-Defendant or Carrier-Defendant, and
Plaintiff understands that Employer-Defendant and Carrier-Defendant enter into this Agreement
based upon Plainiiff’s express representation that Plaintiff neither has nor asserts any other
workers’ compensation claims against Employer-Defendant or Carriet-Defendant, and Plaintiff
further understands that Employer-Defendant and Carrier-Defendant enter into this Agreement in

reliance upon Plaintiff's express waiver of any further workers’ compensation claims that Plaintiff

has or toay have against Employer-Defendant and Carrier-Defendant; and

10

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 28 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS }
PLAINTIFF, }
}

v. } Exhibit H-2
}
ASHEVILLE DETOX LLC et al. }
DEFENDENTS }

Page 11 of workers’ compensation agreement

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 29 of 50

EXHIBIT H-2

NOW, THEREFORE, itis specifically agreed as follows:

That Carrier-Defendant, on behalf of Employer-Defendant, agrees to pay or causes to be
paid to Plaintiff the sum of Fifty Thousand and 00/1 00.Doilars ($50,000.00) in one lump sum.

‘That Defendants, pursuant to the terms of this Agreement, are assuming no liability
whatsoever for the payment of any medical expenses which Plaintiff alleges are related to this
claini, and that Plaintiff, pursuant to the terms of this Agreement, agrees to. pay any and all
outstanding unpaid medical expenses which Plaintiff alleges are related to this claim, such
expenses having been outlined in Exhibit B and incorporated herein by reference, and to satisfy
any resulting liens, out of the aforesaid settlement proceeds, subject Co the limitations of the North
Carolina Industrial Commission’s Workers’ Compensation Fee Schedule pursuant to 11 NCAC
23.A,0502(b\(6) and N.C.G.S. § 97-26, as well as any other applicable statutory Limitations on
repayment such as those coritained in N.C. Gen. Stat. §§ 44-49 and 44-50 as specifically
incorporated by N.C, Gen. Stat, §:97-17(d).

That, pursuant to the requirements. of 11 NCAC 23A.0502(b)(5), Plaintiff further agrees to

notify all such unpaid medical providers. in writing of his agreetnent and obligation to pay said

11

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 30 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,
Vv. Exhibit H-3

ASHEVILLE DETOX LLC et al.
DEFENDENTS

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Page 12 of workers’ compensation agreement

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 31 of 50

EXHIBIT H-3

unpaid medical expenses under the terms of this Agreement, subject to any lawful adjustments

Plaintiff is entitled to claim based on applicable administrative rules and/or statutory provisions.

~-deewrtn rene

That Carrier-Defendant, on behalf of Employer-Defendant, agrees to pay the entire
mediator's fee for the mediated settlement conference held in this case without contribution from,
or offset to, the amount payable to Plaintiff under this Agreement.

That all patties agree that no-rights afforded under N.C,G.S. § 97-10.2 are waived by this

Agreement,

That all parties hereto specifically stipulate that the North Carolina Industrial Commission

may consider the matters now in the record as. competent evidence in passing on this compromise
Apreement, subject to the conditions herein stated.

That Carrier-Defendant, on behalf of Employer-Defendant, agrees to pay all costs incurred
within the meaning of 11 NCAC 23B.0203(a) without contribution from, or offset to, the amount

payable to Plaintiff under this Agreement.
‘That Plaintiff represents that Plaintiff has read this Agreement and fully understands it, that

no promise, inducement or agreement not herein expressed has been made to Plaintiff, that this
12

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 32 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

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v. } Exhibit I-1
DEFENDENTS }

Unemployment record showing contradiction

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 33 of 50

North Carolina Department of Commerce
Division of Employment Security
Appeals Section

EXHIBIT I-1
BT

AGU38872

IN THE MATTER OF: _ APPEALS DOCKET NO. 24-LA-018552_
Claimant Employer
Chtistophet Brooks. Hea Ne Administration Ino.
-4{ Vance Ave UnitB | 1010-Merrimon Ave —
Black Mouritain, NC:28711 Asheville, NC 28804
Mail Date: January 28, 2025

ISSUE STATEMENT

| ‘Whether the-claimant was discharged for misconduct connected with the work. N.C. Gen. Stat.§
96-14.6. oo .

FINDINGS. OF FACT _

{j,  Claimanit-filed an initial clainh for unernploynient insurance benefits effective September 29,2024,
A determination by Adjudi¢ator was rendered under Issue ID 13351146 holding Claimant
disqualified for benefits. -

3, Clainaant was discharged from this job-for alleged lack of communication: afler a workplace injury.

4, Theclaitnant’s employment began on January 8, 2024. The employer is a detox facility, The
claimant was a Behavioral Health Technician. a

5, The claimant applied for ab-internal position with the employer, a desk job, as an Aduiissions
Coordinator. The claimant was told that he was not considered for the job because be was. nota. .
woman; The claimant has filéd.a coniplaint with the Equal Employment. Opportunity Commission
(EEOC) in June 2024. (see Claimant’s Exhibit 9). .

‘6. On May 30, 2024, the claimant was injured wheu he-féll at-work, He was taken by ambulance to
thé hospital. He suffered pinched netvés.in his-neck-and back, The claimant was released to light
duty,-with n6 lifting over fifteen (15) pound on June 4, 2024. (see Claimiant’s Exhibit 14). The.
claimant retamed counsel for his workers’ compensation claim.on June'4, 2024, (see Claimant's
Exhibit 17). Anote:on June 5, 2024 directed the claimant:to remain out of-work.until cleared. (see
‘Claimant's Exhibit 15). .

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 34 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

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v. } Exhibit 1-2
DEFENDENTS }

Unemployment documentation

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 35 of 50

North Carolina Department of Commerce EXHIBIT I-2
Division of Employment Security
Appeals Section.

7, On July 7, 2024; the claimant received a: letter from Medical Case Manager Jeannie: mst’ of
AmtTrust North. America, Inc. to assist in the process of the medical: ‘appointments and workers
~ compensation claim. She states, “I will coordinate with you, the treating providing, your: employer
and your assigned claims: adjuster io delermine a safe and- medically appropriate return to work .
plan.”. (Claimant’ s Exhibit 32)...

&, The claimant was taken out of work-until he could have a. MRI and visit a ‘sutgeon, The MRI
geourred on July 31,2024 (see Claimant's Exhibit 24-25), A note of August 5, 2024 directed the
claimant to:rethain out.of work until he-visited an orthopedic spine surgeot. (see Claimant's Exhibit.
26). He visited the surgeon in September 2024.

9. On September 10 2024, the claimant waé-released to-work up to eight (8)-hours pet day with lifting
restrictions of twenty (20) pounds: (see Claimant's Exhibit 27).

10, On September 17, 2024, the claimant. sent ant email to Liz: Rankin to coordinate his. return. to work..
(see:Claimant’s Exhibit 28).

Li. On October 2, 2024, the claimant received an-automated birthday message from the employer, (see
Claitnant's Exhibit 43). He took this to mean that he was still attached. to the payroll,

«42. The claimant fi first received. a a response from the emp ever o on October 27, 2024, Whien Ms. Rankin

MEMORANDUM OF LAW

Under the Employment Seoutity Law of North Carolina, whén a claimant files a claim for
benefits after being separated from their employment, the. Division: mist deterinitie the reason for the
separation and Jf that reason: disqualifies. the claimant from receiving unemployment benefits. N.C. Gen:

Stat. §§ 96-14.1(@), 95-15()(2).

Where the Division determines the claimant was dischar; ged from employment, the Division
must decide whether the claimantis unemployed due to misconduct connected with the work. N.C. Gen.
Stat. § 96-14.6(a). If the Division determines the claimant is uriemployed due to misconduct:connected
with the work, the claimant is disqualified for benefits. Id.-

Misconduct connected with the work is. either of the following:

(1) Conduct evincing 2 willful or wanton disregard.of the employer's iriterést as is “fou 4 in.
deliberate violation or disregard of standards of behavior that the employer has the right to
‘expect of an employee or has explained orally or in writing-to an employee.

(2) Conduct evincing catelessness ornegligence: of such degree or reeurrence:as-to manifest an
intentional atid substantial ‘disregard of the-employer’s ititerests or of the employee’ s duties
and obligations to: the employer.

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 36 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO; 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

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}
v. } Exhibit 1-3
DEFENDENTS }

More unemployment evidence

Case 1:25-cv-00058-MOC-WCM  Docurhent 28-2 ‘Filed 06/25/25 Page 37 of 50

North Carolina Department of Commerce | EXHIBIT I-3
Division of Employment Security
Appeals Section

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N.C. Gen. Stat. § 96-14.6(b).

The following examples are prima facie evidence of misconduct that may be rebutted by the

individual making a claim for benefits:

(J) Violation of the employer's written alcohol or illegal drug policy.

(2) Reporting to work significantly impaired by alcohol or illegal drugs.

(3) Consumption of alcoho! or illegal drugs on the employer's premises.

(4) Conviction by a court of competent jurisdiction for manufacturing, selling, or distributing a
controlled substance punishable under N.C. Gen. Stat. § 90-95(a)(1) or 90- 95(a)(2) if the
offense is related to or connected with an employce's work for the employer or is in violation
of a reasonable work rule or policy.

(5) Termination or suspension from employment after arrest or conviction for an offense
involving violence, sex crimes, or tllegal drugs if the offense is related to or connected with
the employee's work for an employer or is in violation of a reasonable work rule or policy.

(6) Any physical violence whatsoever related to the employce's work for an employer, including
physical violence directed at supervisors, subordinates, coworkers, vendors, customers, or the
general public.

(7) Inappropriate comments or behavior toward supervisors, subordinates, coworkers, vendors,
customers, or to the general public relating to any federally protected characteristic that
creates a hostile work environment.

(8) Theft in connection with the employment.

(9) Forging or falsifying any document or data related to employment, including a previously
submitted application for employment.

(10) Violation of an employer's written absenteeism policy.

(11) Refusal to perform reasonably assigned work tasks or failure to adequately perform
employment duties as evidenced by no fewer than three written reprimands in the 12 months
immediately preceding the employce's termination.

N.C. Gen. Stat. § 96-14.6(c).

REASONING

In the present case, the claimant was out on leave due to a workplace injury, for which he filed a
workers compensation claim. When the claimant was released to return to work he notified the
employer, but received no response for over a month, when he was told his position was no longer
available and the employer had no open positions due to the hurricane. ‘Wh: cmploycr siated in thei
response that there had been noe conimumication since the worknloees ini y, bui the claimant presented
flornmentation of eommnmication through the ihird parly vendor wit was hatidhiy me workers
compensation cian, The claimant notitied the employer when he was released iv reiura to work and no
work was offered to him. Therefore, the claimant was not discharged for misconduct connected with the

work,

DECISION

The determination by Adjudicator is REVERSED. Claimant is QUALFIED for unemployment
benefits.

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 38 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,
v. Exhibit I-4

ASHEVILLE DETOX LLC et al.
DEFENDENTS

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Further unemployment evidence

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 39 of 50

North Carolina Department of Commerce “ag
Division of Employment Security yy
Unemployment insurance E XH L BI T [ =

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Claimant Name: CHRISTOPHER BROOKS Employer Name: HCA NC ADMINISTRATION INC
Claimant Party ID: 14218927 Employer Party 1D: 13682118
issue ID: 13351146 ce

Fact Finding Questions Responses

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Halp us prevent Ui! Fraud. Report suspected Ui Fraud online at dag .ne.gov
Ditinterview_0.0.1 Post Office Box 25903 Raleigh, NC 27641-5903

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 40 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO; 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

Exhibit 1-5

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ASHEVILLE DETOX LLC et al.
DEFENDENTS

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Further unemployment evidence

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 41 of 50

North Carolina Department of Commerce

Division of Employment Security EXH. T B T T [- 45

Unemployment Insurance

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Saturday fres

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Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 42 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

Vv. Exhibit I-6

ASHEVILLE DETOX LLC et al.
DEFENDENTS

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Final unemployment evidence document

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 43 of 50

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Division of Employment Security EXHI B T T L =“ |

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Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 44 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

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Vv. } Exhibit J
DEFENDENTS }

Rule 11 safe harbor notice

Case 1:25-cv-00058-MOC-WCM __ Docurhent 28-2 Filed 06/25/25 Page 45 of 50

EXHIBIT J

Rule 1 1(c){2) Service Notice

Christopher Jonas Brooks

41 Vance Ave Unit B

Black Mountain, NC 28711
Chris.Brooksl11@outlook.com

(910) 294-1826 5/20/2025

Robert Carpenter
Allen Stahl & Kilbourne, PLLC
20 Town Mountain Road, Suite 100

Asheville, NC 28801

Re: Notice of Rule 11(c)(2) Service — Brooks v. Asheville Detox, LLC, et al. Case
No. 1:25-cv-00058-MOC-WCM (WDNC)

Dear Counsel:

Pursuant to Federal Rule of Civil Procedure 11(c)(2), enclosed please find a copy of
Plaintiffs Motion to Strike and for Sanctions. This motion is being served but not filed
with the Court at this time, m accordance with the 21 -day safe harbor provision.

Although the underlymg conduct cannot truly be undone—given that it involved mailing
an altered exhibit after court filing—this notice is provided to comply with Rule 11's
procedural requirement.

If you do not withdraw or appropriately correct the material identified in the motion
within 21 days of service, Plaintiff intends to file the motion with the Court.

Sincerely,

Christopher Jonas Brooks
Pro Se Plaintiff

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 46 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS }
PLAINTIFF, \
}

v. } Exhibit K
}
ASHEVILLE DETOX LLC et al. }
DEFENDENTS }

Pg, 3 of court filed document 17 by defense

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 47 of 50

EXHIBIT K

failure to exhaust administrative remedies Affirmative Defense stems from the fact
that Plaintiff failed to file a Charge of Discrimination against Defendant Health Care
Alliance North America.

Plaintiff's exhibits to the Motion to Strike contain a “Separation Agreement
and Release of Claims” executed by Plaintiff where he releases any and all claims
against Defendants, including the claims brought here (“the Release”). [Doc. 13-6].
Plaintiff executed the Release in consideration of the $50,000.00 settlement of his
Workers’ Compensation claim and to categorize his employment separation as a
resignation, [Doc. 13-5 & 13-7]. Plaintiff and Defendants further agreed that he would
receive an additional $100.00 as consideration for the Release. [Doc. 13-7]. Plaintiff
explicitly acknowledged the “receipt and sufficiency” of the consideration for the
Release. [Doc. 13-7].

While Defendants agréed to the Workers’ Compensation settlement and the:
Release, it: could not locate a fully signed copy of the Release or payment record for
the $100:00? Consequently, in an abundance of caution, and because the agreement
contained no time limitation on payment and signature, Defendanis executed the
Release on May 15, 2026, and mailed it to Plaintiff along with a $100.00 check and
$100 bill.

In response to the signed agreement and check, Plaintiff delivered Exhibit A
to the undersigned counsel wherein he made an exorbitant settlement demand and

threatened Rule 11 sanctions against Defendants for signing the agreement and

sending him $200.00.

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Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 48 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION

FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF,

ASHEVILLE DETOX LLC et al.

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}
v. } Exhibit L
DEFENDENTS }

Pg.1 of a proposed and rejected separation agreement and release of claims

Case 1:25-cv-00058-MOC-WCM _ Docurhent 28-2 Filed 06/25/25 Page 49 of 50

EXHIBIT L

SEPARATION AGREEMENT AND RELEASE OF CLAIMS

THIS AGREEMENT is made and entered into by and between Christopher Brooks and
Asheville Detox LLC.

THE PARTIES acknowledge the following:

“EMPLOYEE?’ refers to Christopher Braoks.

“COMPANY" refers to Asheville Detox LLC, its subsidiaries, business units, corporate
affiliates, and parent companies, past and present, its predecessors and successors and its
respective officers, managers, directors, employees, agents, insurers, legal counsel, successors and
assigns, past and present.

EMPLOYEE and the Company agree that, unless Employee has already resigned or has
otherwise been separated from ithe company, effective as of November 18, 2024, Employee shall be
considered to have voluntarily resigned from his position with the Company, and this Agreement

will become effective as set forth below.

EMPLOYEE has a Workers’ Compensation claim currently before the North Carolina
industria! Commission, |.C. File No. 24774803. Notwithstanding the terms of this Agreement, the
parties agree that the above-referenced Workers’ Compensation claim shall be resolved in a
separate “clincher” agreement and pursuant to the terms agreed upon between Employee and

the Company on November 18, 2024.

THEREFORE, in consideration of the mutual agreements and promises set forth within this
Agreement, the receipt and sufficiency of which are hereby acknowledged and, provided that
Employee properly executes and returns it to counsel for the Company and does not revoke it as
set forth below, Employee and the Company agree as follows:

1. Consideration

In consideration of Employee's agreements and promises set forth below, the Company will
pay Employee One-Hundred and 00/Dollars ($100.00), the receipt and sufficiency of which are

hereby acknowledged.

The parties agree that this consideration is over and above any other amount that
Employee would otherwise be entitled to receive from the Company.

The parties agree that consideration under this agreement to Employee are not to be
considered wages arising out of his employment with the Company. Employee agrees to hold
the Company harmless in the event that the funds paid pursuant to this agreement are deemed
taxable pursuant to any law of the United States, or the law of any state or local goverhment.
Employee agrees that he will indemnify and hold harmless the Company fro? any liability, costs,
and/or penalties that may be incurred as a result of the Company's failure to deduct and remit
to federal or state tax authorities’ payroll and/or income tax deductions from the amounis
provided pursuant fo this agreement. to the extent any federal, state or local taxes are applicable

Case 1:25-cv-00058-MOC-WCM Document 28-2 Filed 06/25/25 Page 50 of 50

